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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                           )
 JANE DOE,                                 )
                                           )
                    Plaintiff,             )
                                           )
        v.                                 )       Civil Action No. 14-1005 (ESH)
                                           )
 ALFREDO SIMON CABRERA,                    )
                                           )
                    Defendant.             )
                                           )




       INTERESTED NON-PARTY BENJAMIN VOCE-GARDNER’S
         NOTICE OF IN CAMERA SUBMISSION PURSUANT TO
                   ORDER OF OCTOBER 20, 2015

      Interested Non-Party Benjamin Voce-Gardner hereby provides notice that he

has made an in camera submission pursuant to the Order of October 20, 2015.

E.C.F. 119. The materials required by such Order have been previously provided

to the plaintiff, except that the in camera submission is made without redactions of

irrelevant material. See Exhibit B (E.C.F. 94-2) to Plaintiff’s Sur-Reply In

Opposition to Joint Motion to Quash Subpoena to Benjamin Voce-Gardner and for

a Protective Order (E.C.F. 94) and October 20, 2015, Memorandum Opinion

(E.C.F. 118) at 3 n.2.
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 Dated: October 28, 2015                          /s/ Thomas B. Mason
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                                                  Benjamin Voce-Gardner




                              CERTIFICATE OF SERVICE

       I hereby certify that I caused the foregoing to be electronically filed with the Clerk of the

Court by using the CM/ECF system on this 28th day of October 2015, and electronically served

via the CM/ECF system.




                                                             /s/ Thomas B. Mason
                                                             Thomas B. Mason
